                                                                                                               EXHIBIT B
                            Case 1:14-cr-00068-LGS   Document 359-2    Filed 06/28/19    Page 1 of 1
                                                                                                               TO 2255
                                                                                                               MOTION,
                                                                                                               GX801
     Seizure Number      Purchase Date   Vendor              Date Analyzed    Net Weight (g)    Drug Detected
1    20123901-00022501   1/8/2012        JUERGEN2001         2/15/2012        0.98              MDMA
2    20123901-10252601   1/8/2012        CHEMICAL BROTHERS   2/17/2012        1                 MDMA
3    20123901-00022401   1/8/2012        JUERGEN2001         3/1/2012         0.85              Amphetamine
4    20123901-10261601   1/8/2012        AMSTERDAMGOODS      2/15/2012        1                 MDMA
5    20123901-00023701   1/8/2012        SESAMPINO           2/15/2012        0.97              MDMA
6    20123901-00025901   1/8/2012        MDMATE              2/15/2012        1                 MDMA
7    20123901-00025601   1/8/2012        NAMASTE             2/16/2012        0.31              MDMA
8    20123901-00024401   1/8/2012        STREET PHARMACY     2/21/2012        2.6               MDMA
9    20123901-00023701   1/8/2012        SESAMPINO           2/28/2012        1.1               Cocaine Hydrochloride
10   20123901-00023301   1/8/2012        MROUID              3/1/2012         11.1              Meth Hydrochloride
11   20123901-10263901   1/8/2012        SUNSHINE            3/6/2012         0.1               2C-B
12   20123901-00023801   1/8/2012        PEACE AND LOVE      3/6/2012         0.13              Oxycodone
13   20123901-00026501   1/8/2012        WALTER              3/6/2012         0.19              DMT
14   20123901-00024501   1/8/2012        HASHUK              3/13/2012        1                 Marijuana
15   20123901-00023401   1/8/2012        ALTEREGO            3/16/2012        19.2              Morphine, Codine, Thebaine
16   20123901-00023501   1/8/2012        CRIPLED CRANIUM     3/16/2012        0.011             LSD
17   20123901-00025801   1/8/2012        YESHUA              3/21/2012        1.2               Bufotenine
18   20123901-10390601   3/1/2012        DUTCHAANBOD         4/10/2012        0.61              Cocaine Hydrochloride
19   20123901-00037201   3/1/2012        IVORY               5/4/2012         0.24              2C-B/MDMA
20   20123901-10390801   3/1/2012        NORIEGA             5/7/2012         0.49              Heroin Hydrochloride
21   20123901-10390701   3/1/2012        MADE IN HOLLAND     5/11/2012        0.35              MDMA
22   20123901-10390901   3/1/2012        DRJOHNHALPERN       5/11/2012        0.27              MDMA
23   20123901-00037601   3/1/2012        SKYY                5/14/2012        1.3               MDMA/MDDMA
24   20123901-00037901   3/1/2012        DOPEYDWARF          5/14/2012        0.24              MDMA
25   20123901-00038001   3/1/2012        DAGOBERT            5/14/2012        0.28              MDMA
26   20123901-00038101   3/1/2012        MITANOX             5/14/2012        1                 MDMA
27   20123901-00039301   3/1/2012        BLAATZ0R            5/4/2012         0.93              Amphetamine
28   20123901-00039401   3/1/2012        MISTERSAFE          5/14/2012        1.7               MDMA
29   20123901-00042101   3/1/2012        MRNICE1             5/14/2012        0.1               Heroin
30   20123901-00042201   3/1/2012        GOOGLEYED           6/1/2012         16                (No Controlled Substance)
31   20123901-00055901   5/18/2012       KITTYCAT            7/24/2012        0.34              MDMA
32   20123901-00056101   5/29/2012       DUTCHQUALITYBEANS   7/24/2012        2                 MDMA
33   20123901-00056201   5/18/2012       MAGICALBONNY        7/24/2012        0.63              MDMA
34   20123901-00056401   5/18/2012       CLOUDSURFER         7/24/2012        1                 MDMA
35   20123901-00056501   5/18/2012       SCHIZOFREEN         7/25/2012        0.3               MDMA
36   20123901-00056501   5/18/2012       SCHIZOFREEN         7/25/2012        0.93              MDMA
37   20123901-00056301   5/18/2012       AMSTERDOPE          8/22/2012        0.97              Amphetamine
38   20123901-00062001   5/18/2012       ABZU                7/25/2012        1                 MDMA
39   2013390100044601    3/6/2013        BEST DUTCH DRUGS    4/26/2013        1.1               MDMA
40   2013390100044701    3/6/2013        EMONKEY             4/26/2013        1.2               MDMA
41   2013390100045401    3/6/2013        CHEMICALSISTERS     4/26/2013        0.47              MDMA
42   2013390100045101    3/6/2013        UGLYDOLL            5/17/2013        0.21              Heroin/MDMA
43   2013390100044201    3/6/2013        HAPPYTIMEZZ         5/23/2013        0.44              Cocaine Base
44   2013390100044401    3/6/2013        CHARLIEANDMOLLIE    5/23/2013        0.49              Cocaine Hydrochloride
45   2013390100044501    3/6/2013        ABZU                7/18/2013        1                 Amphetamine
46   2013390100045201    3/7/2013        THE DUTCH GUY       7/18/2013        0.089             DMT
47   2013390100044301    3/6/2013        FREDTHEBAKER        8/1/2013         0.014             LSD
48   2013390100045301    3/6/2013        AAKOVEN             8/1/2013         0.032             LSD
49   2013390100048201    3/6/2013        NEVITA              7/31/2013        1                 25i-NBOMe
50   2013390100049301    3/6/2013        MERCURY 31          4/26/2013        2.1               MDMA
51   2013390100049401    3/6/2013        DUTCHFLOWERS        4/29/2013        1.3               MDMA
52   2013390100061401    4/11/2013       AMSTERDOPE          8/1/2013         0.1               5-MeO-DMT
